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                                       UNITED STATES DISTRICT COURT

                                       DISTRICT OF CONNECTICUT


                                                               DOCKET NUMBER

                                                               3:16-cv-00487-AWT


    RACHEL DEDMON

    V                                                          APRIL 23, 2016

    NAVIENT SOLUTIONS, INC.

                        SECOND AMENDED COMPLAINT


        1.    PARTIES


        A. PLAINTIFF

              RACHEL E. DEDMON
              151 CORNWALL ROAD
              WATERBURY, CT 06704

        B. DEFENDANT
           NAVIENT SOLUTIONS INC.
           12601 EDMIND HALLEY DRIVE
           RESTON, VA 20190

        2.    JURISDICTION

This court has jurisdiction based on diversity because the plaintiff resides in a different state than

the defendant and the amount of damages is more than $75,000.

        3.    VENUE

Venue is appropriate as the plaintiff is a resident of the State of Connecticut.
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  4.    STATEMENT OF FACTS AND CLAIMS


           COUNTT I - TELEPHONE CONSUMER PROTECTION ACT
                       47 USC 227

1. Rachel Dedmon lives in Waterbury, Connecticut.

2. Ms. Dedmon received numerous phone calls from Navient Solutions, Inc.

3. Said phone calls were made using an automatic dialing system.

4. Ms. Dedmon has no business relationship with Navient Solutions, Inc..

5. The phone calls were made to the cell phone number of Ms. Dedmon.

6. In excess of 50 automated calls were made to the cell phone number.

7. The calls are forwarded to an answering service paid for by Ms.Dedmon. As a result, Ms.

   Dedmon incurred charges for said calls.

8. The phone calls resulted in emotional distress to Ms. Dedmon.

9. The plaintiff has been harmed


                  COUNT II – UNFAIR TRADE PRACTICES ACT – CONSUMER
                  CREDITOR COLLECTION PRACTICES ACT – CGS 36A-645 et seq.

  1.    Paragraphs 1 to 9 of Count I are hereby reallaged.

  2.    Said phone calls were made in regard to an alleged debt.

  3. Ms. Dedmon contacted the defendant, in an attempt to stop the harassing and

  annoying phone calls.

  4. Despite contact by Ms. Demon, the defendant continued to make calls to Ms.

  Dedmon’s cell phone numbers.


           COUNT III – UNFAIR TRADE PRACTICES – CGS 42-110a et seq.

  1. Paragraphs 1 to 4 of Count II are hereby realleged

  2. The actions of the defendant constitute unfair trade practices.
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                           THE PLAINTIFF


                           BY /s/ ROBERT M. SINGER, ESQ.
                           HER ATTORNEY
                           2572 Whitney Avenue
                           Hamden, CT 06518
                           203-248-8278
                           Fed Bar #08696
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   5.    DEMAND FOR RELIEF


WHEREFORE THE PLAINTIFF CLAIMS

1. Money Damages

2. Damages as provided by 27 USC 227 (b)(3)(B) - $500 per violation

3. Damages of $1,500 per violation, for willful or knowing violation, as provided by 27
   USC 227 (b)(3)

4. Attorney’s fees and costs, as provided by CGS 42-110g.

5. Such other relief as to equity and law may apply

                                        THE PLAINTIFF


                                        BY /s/ ROBERT M. SINGER, ESQ.
                                        HER ATTORNEY
                                        2572 Whitney Avenue
                                        Hamden, CT 06518
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   The amount, legal interest or property in demand is greater than

FIFTEEN THOUSAND AND NO/100 DOLLARS ($15,000) exclusive of interest

and costs.

   Dated at Hamden, CT this 23rd Day of April, 2016

                                        THE PLAINTIFF


                                        BY /s/ ROBERT M. SINGER, ESQ.
                                        HER ATTORNEY
                                        2572 Whitney Avenue
                                        Hamden, CT 06518
                                        203-248-8278
                                        Fed Bar #08696
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  6.    DEMAND FOR TRIAL BY JURY

The plaintiff, pursuant to FRCP 38, hereby demands a trial by jury.

                                        THE PLAINTIFF


                                        BY /s/ ROBERT M. SINGER, ESQ.
                                        HER ATTORNEY
                                        2572 Whitney Avenue
                                        Hamden, CT 06518
                                        203-248-8278
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                         CERTIFICATE OF SERVICE

 I hereby certify that a copy of the foregoing was filed electronically through the Court's
Electronic Filing System ("ECF") and email notification was sent to all parties. Parties
unable to receive notifications through the Court's ECF system were sent copies by regular
U.S. mail on this 23rd day of April, 2016.


                                        THE PLAINTIFF


                                        BY /s/ ROBERT M. SINGER, ESQ.
                                        HER ATTORNEY
                                        2572 Whitney Avenue
                                        Hamden, CT 06518
                                        203-248-8278
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